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                      12   TINDER, INC., MATCH GROUP, LLC,
                           and MATCH GROUP, INC.
                      13
                      14                        UNITED STATES DISTRICT COURT
                      15                       CENTRAL DISTRICT OF CALIFORNIA
                      16
                      17   LISA KIM, individually and on behalf    Case No. CV 18-03093 JFW (AS)
                           of all others similarly situated,
                      18                                           Hon. John F. Walter
                                          Plaintiff,
                      19                                           [PROPOSED] STATEMENT OF
                                    vs.                            DECISION
                      20
                           TINDER, INC., a Delaware                Hearing Date:    July 16, 2018
                      21   corporation; MATCH GROUP, LLC,          Hearing Time:    1:30 p.m.
                           a Delaware limited liability company;   Courtroom:       7A
                      22   MATCH GROUP, INC., a Delaware
                           corporation; and DOES 1 through 10,
                      23   inclusive, and each of them,
                      24                  Defendants.
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M ANATT , P HELPS &
  P HILLIPS , LLP
  ATTO RNEY S AT LAW
                           320577567.1                                   [PROPOSED] STATEMENT OF DECISION
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                       1            PLEASE TAKE NOTICE that in accordance with Section 5(f) of the
                       2   Honorable John F. Walter’s Standing Order in this action [ECF No. 14], as well as
                       3   Local Rule 5-4.4.1 of the United States District Court for the Central District of
                       4   California, defendants Tinder, Inc., Match Group, LLC, and Match Group, Inc.
                       5   (“Tinder”) hereby lodges a [Proposed] Statement of Decision in connection with
                       6   Tinder’s Motion Compel Arbitration or Stay Under Colorado River Abstention.
                       7   [ECF No. 24]
                       8            The [Proposed] Statement of Decision is attached to this Notice as Exhibit
                       9   “A.”
                      10
                      11   Dated:        July 5, 2018                 MANATT, PHELPS & PHILLIPS, LLP
                      12
                                                                      By:/s/ Robert H. Platt
                      13                                                 Robert H. Platt
                                                                         Attorneys for Defendants
                      14                                                 TINDER, INC., MATCH GROUP,
                                                                         LLC, and MATCH GROUP, INC.
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M ANATT , P HELPS &
  P HILLIPS , LLP
  ATTO RNEY S AT LAW
                           320577567.1                               2        [PROPOSED] STATEMENT OF DECISION
     LOS A NG EL ES
